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		OSCN Found Document:IN RE AMENDMENT OF RULE 1.27(a) OF OKLA. SUPREME COURT RULES

					

				
  



				
					
					
						
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				IN RE AMENDMENT OF RULE 1.27(a) OF OKLA. SUPREME COURT RULES2019 OK 67Decided: 10/21/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 67, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: Amendment of Rule 1.27(a) of the Oklahoma Supreme Court Rules (Cross-Appeal or Counter-Appeal)




ORDER


¶1 Rule 1.27(a) of the Oklahoma Supreme Court Rules, Okla. Stat. tit. 12, ch. 15, app. 1, is hereby amended as shown on the attached Exhibit "A." Rule 1.27(a), with the amended language noted, is attached as Exhibit "B." The remainder of Rule 1.27 is unaffected by the amendment. The amended Rule will be effective on December 2, 2019.

¶2 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 21st day of October, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Combs and Kane, JJ., concur.



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Oklahoma Statutes Citationized
Title 12. Civil Procedure 
Appendix 1 - Oklahoma Supreme Court Rules
Article Part II. Appeals From Judgment Or Final Order Of The District Court
Section RULE 1.27 - MULTIPLE APPEALS
Cite as: O.S. §, __ __

(a) Cross-Appeal or Counter-Appeal.

If a petition in error has been timely filed to commence an appeal from an appealable decision, then a party aggrieved by the same decision may file a cross or counter petition in error within thirty (30) days from the date the petition in error is filed by the Appellant in the same case. Failure to file within the time allowed will result in the dismissal of the cross or counter appeal. Petitions in error which commence an appeal from the same appealable decision or from different appealable decisions in the same case shall so far as possible be filed under the same docket number, except when one of the appeals is brought pursuant to Rule 1.36. If more than one petition in error addressed to the same decision is filed the same day, the court shall determine which of these petitions in error is to be regarded as bringing the principal appeal and which constitutes a counter-appeal, a cross-appeal or some other form of appeal.

Only one cost deposit prescribed by statute shall be required in this Court for multiple appeals from the same case filed under the same number. This cost deposit shall be paid by the party who first shall file a petition in error in this Court. See Rule 1.36(k) and (l) for multiple appeals involving one or more appeals governed by Rule 1.36. Appeals from different appealable decisions in the same district court case, filed in a pending appeal, are subject to leave of court which will be granted or withdrawn subsequent to filing. An appellate court may order a later appeal to be redocketed as a new cause upon payment of an accompanying cost deposit.

EXHIBIT "A"

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&nbsp;

Oklahoma Statutes Citationized
Title 12. Civil Procedure 
Appendix 1 - Oklahoma Supreme Court Rules
Article Part II. Appeals From Judgment Or Final Order Of The District Court
Section RULE 1.27 - MULTIPLE APPEALS
Cite as: O.S. §, __ __

(a) Cross-Appeal or Counter-Appeal.

If a petition in error has been timely filed to commence an appeal from an appealable decision, then a party aggrieved by the same decision may file a cross or counter petition in error within forty (40) days of the date the judgment was filed with the district court clerk. thirty (30) days from the date the petition in error is filed by the Appellant in the same case. Failure to file within the time allowed will result in the dismissal of the cross or counter appeal. Petitions in error which commence an appeal from the same appealable decision or from different appealable decisions in the same case shall so far as possible be filed under the same docket number, except when one of the appeals is brought pursuant to Rule 1.36. If more than one petition in error addressed to the same decision is filed the same day, the court shall determine which of these petitions in error is to be regarded as bringing the principal appeal and which constitutes a counter-appeal, a cross-appeal or some other form of appeal.

Only one cost deposit prescribed by statute shall be required in this Court for multiple appeals from the same case filed under the same number. This cost deposit shall be paid by the party who first shall file a petition in error in this Court. See Rule 1.36(k) and (l) for multiple appeals involving one or more appeals governed by Rule 1.36. Appeals from different appealable decisions in the same district court case, filed in a pending appeal, are subject to leave of court which will be granted or withdrawn subsequent to filing. An appellate court may order a later appeal to be redocketed as a new cause upon payment of an accompanying cost deposit.

EXHIBIT "B"





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